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12

13                                   UNITED STATES DISTRICT COURT
14                                NORTHERN DISTRICT OF CALIFORNIA
15

16   GEORGE E. BARICH and LAURIE                      Case 3:21-cv-00034-EMC
     ALDERMAN,
17                                                    JOINT CASE MANAGEMENT STATEMENT
18                         Plaintiffs,
                                                      Date: January 11, 2022
19          v.                                        Time: 2:30 p.m.
                                                      Location: Courtroom 5 – 17th Floor
20                                                    450 Golden Gate Avenue, San Francisco, CA 94102
21   CITY OF COTATI and JOHN A.                       (Videoconference Only)
     DELL’OSSO,                                       Judge: Hon. Edward M. Chen
22
                           Defendants.                Complaint filed: January 5, 2021
23
                                                      Trial date: December 12, 2022
24

25

26
            The parties to the above-entitled action jointly submit this JOINT CASE MANAGEMENT
27
     STATEMENT pursuant to the Standing Order for All Judges of the Northern District of California and
28
     Civil Local Rule 16-9.


                                         JOINT CASE MANAGEMENT STATEMENT

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 1   1.     Jurisdiction & Service
 2          The Court has Federal question subject matter jurisdiction because Plaintiffs assert claims under
 3   42 USC §§1983 and 12101. No issues exist regarding personal jurisdiction or venue. The parties are
 4   not aware of any other parties that remain to be served.
 5

 6   2.     Facts
 7          Plaintiffs’ Contentions:
 8          This case involves three occasions on which Defendants violated Plaintiffs’ civil rights. On
 9   January 8, 2019, Dell’Osso presided over a regularly scheduled City Council meeting. Barich, who was
10   out of town and wished to be heard at the meeting, appointed Alderman as his “attorney-in-fact” to read
11   a written statement into the record in his absence. During the meeting’s public comment period,
12   Alderman was not allowed to speak on behalf of Barich or to read his statement into the record. Mayor
13   Dell’Osso, on advice of City Attorney Donoghue, stated to Alderman that she “would not be allowed to
14   speak for George [Barich], due to the rules about proxy statements.” However, Dell’Osso accepted
15   Barich’s written statement for inclusion into the meeting’s written record.
16          On January 22, 2019, Dell’Osso presided over a regularly scheduled City Council meeting.
17   Barich again appointed Alderman as his “attorney-in-fact” to present his testimony at the meeting. This
18   time, Alderman filled out a speaker card for Barich. When his name was called, Alderman presented
19   herself and a notarized copy of a power of attorney granting her the authority to speak on Barich’s
20   behalf in his absence. Dell’Osso asked for the advice of the City Attorney, who stated that the City’s
21   rules do not allow for speakers to present a power of attorney and comment for someone else. In
22   response, Alderman told Dell’Osso and the City Attorney that they were violating Barich’s civil rights
23   and that they should reconsider their decision to not let her read his statement into the record.
24   Dell’Osso refused to allow Alderman to read the statement into the record. (Alderman admits that she
25   was allowed to speak for Barich at the City Council meeting of February 12, 2019, when Barich was
26   present but suffering from a sore throat.)
27          On March 27, 2019, the City held a special meeting of the City Council. The meeting was held
28   in the community room at the Cotati police station rather than the City Council chambers next door.



                                        JOINT CASE MANAGEMENT STATEMENT

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 1   Barich, who suffers from progressive hearing loss and tinnitus, often requires an electronic hearing-
 2   assist device at City Council meetings, which the City provides. A week before the special meeting,
 3   Barich requested an electronic hearing-assist device for his use at the meeting. The Cotati City Clerk
 4   assured Barich that he would be provided with a hearing-assist device for the special meeting.
 5          At the outset of the meeting, the City Clerk provided Barich an electronic hearing-assist device
 6   that did not function inside the police station’s community room. The clerk gave Barich a second
 7   device that also did not function. It is undisputed that he City’s hearing-assist devices could never work
 8   in the community room, as they had to be connected to the public-address system in the council
 9   chambers next door in order to function. No public-address system was used at the special meeting
10   because the community room did not have one. City Clerk Berges and City Planner Harries
11   acknowledged to Barich before the meeting that the hearing-assist devices were not working. Barich
12   asked Berges to inform the Mayor of the problem, but the meeting continued. As a result, Barich was
13   relegated to the side of the room. The chairs were arranged in a horseshoe pattern with the closed end
14   toward the audience. City Council members Wendy Skillman and Mark Landman and Public Works
15   Director Scott, who was there to speak, were facing away from Barich, making it impossible for him to
16   follow along and participate in the discussions.
17          See https://www.youtube.com/watch?v=47v50C9oirA&t=7s – At a 2015 City Council meeting
18   in the City Council chambers, Skillman is the one pretending to play the violin and laughing while
19   Barich speaks; Dell’Osso is the one who asks Barich a question and then shouts him down, claiming it
20   was rhetorical; and then-Mayor Landman is the one who cuts off Barich’s microphone and, tellingly,
21   says, “We knew what his answer would be.”
22          During the March 27, 2019 special meeting’s public comment period, Barich reminded the City
23   Council of his hearing disability, informed them that the council was not accommodating his disability,
24   and requested that the meeting be moved to the nearby council chambers where his hearing disability
25   could be accommodated through the use of the public-address system. Dell’Osso denied Barich’s
26   request and suggested that he raise his hand and interrupt the meeting every time he was having trouble
27   hearing the discussion. Barich replied to Dell’Osso that this was unreasonable. Dell’Osso answered that
28




                                       JOINT CASE MANAGEMENT STATEMENT

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 1   Barich could either stay under the circumstances or leave. Barich, unable to meaningfully participate
 2   after some 13 minutes, left the meeting.
 3          Based on these incidents and after having their government tort claims timely filed and rejected,
 4   Plaintiffs filed the instant action on January 5, 2021, asserting five claims: (1) violation of Barich’s
 5   right to equal protection under the Fourteenth Amendment against Dell’Osso; (2) violation of
 6   Alderman’s freedom of speech rights under the First Amendment at the January 8 and January 22
 7   meetings against Dell’Osso; (3) violation of Alderman’s right to equal protection under the Fourteenth
 8   Amendment against Dell’Osso; (4) unconstitutional policy, custom, or practice in violation of § 1983
 9   pursuant to Monell v. Department of Social Services, 436 U.S. 658 (1978), against the City; and (5)
10   violation of Barich’s rights under the ADA, 42 U.S.C. §§ 12101–12213, against the City. The First
11   Amended Complaint also includes allegations regarding prior civil rights violations by the City and its
12   agents, including a prior federal action the City settled. It also includes prior false accusations by other
13   Council members.
14

15          Defendants’ Contentions:
16          Defendants’ denials and admissions to Plaintiffs’ allegations are set forth in the Defendants’
17   answer. Very briefly, to address what Defendants believe the Court is looking for here, and not as a
18   limitation on a Defendants’ version of events, Defendants incorporate their statement from the previous
19   Joint Case Management Statement and emphasize the following new information that directly
20   addresses the basis for the Court’s partial denial of the Defendant’s Motion to Dismiss. Plaintiff
21   Alderman admitted in responses to interrogatories that the City informed her at the January 8, 2019 and
22   January 22, 2019 City Council meetings, as well as at numerous previous meetings, that she had the
23   right to say whatever she wished during her own speaking timeslot during the Citizen Business section
24   of the City Council meeting. Alderman admits that she was fully aware of that right, but nonetheless
25   chose not to read Mr. Barich’s written statement during her own speaking timeslot.
26          Furthermore, Plaintiffs’ original and amended complaints omit that she was allowed to read Mr.
27   Barich’s statement at the next City Council meeting on February 12, 2019. Alderman denied this in her
28




                                        JOINT CASE MANAGEMENT STATEMENT

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 1   original responses to interrogatories, but when confronted with the video evidence, admitted that she
 2   had been so allowed, claiming that her memory is unreliable.
 3          Hence, it is now clear that Ms. Alderman was expressly informed by the City and was fully
 4   aware that she had the right to say whatever she wished during her own speaking timeslot, but decided
 5   not to read Mr. Barich’s statement during her own speaking timeslot, and to instead speak on other
 6   matters.
 7

 8   3.     Legal Issues
 9          A number of legal issues are set forth in the moving and opposing papers for the two 12(b)(6)
10   motions Defendants have filed in this matter. In brief, Plaintiff Barich claims that his equal protection
11   rights were violated by what occurred at the January 8 and January 22, 2019 City Council meetings,
12   and the Defendants deny this. Plaintiff Alderman claims that her equal protection and First Amendment
13   rights were violated in connection with the January 8 and January 22, 2019 City Council meetings, and
14   the Defendants deny this. Both Plaintiffs claim that the City is liable for the previously described
15   claims under a Monell liability theory; the Defendants deny this. Plaintiff Barich claims that his rights
16   under the Americans with Disabilities Act were violated in connection with a City Council strategic
17   planning meeting held on March 27, 2019 in the community room at the Police Department;
18   Defendants deny this.
19          Defendants’ affirmative defenses are set forth in their Answer, and include that if Dell’Osso’s
20   conduct is found to have violated either or both the Plaintiffs’ constitutional rights, that he is
21   nonetheless entitled to qualified immunity.
22

23   4.     Motions
24          Defendants filed two 12(b)(6) motions, the first of which was granted with leave to amend, and
25   the second of which was granted in part and denied in part. The Court struck Plaintiffs’ requests for
26   injunctive relief but declined to strike the ADA claim or any of their other four claims. The Court also
27   declined to strike Plaintiffs’ punitive damages request against Dell’Osso on their constitutional claims
28




                                        JOINT CASE MANAGEMENT STATEMENT

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 1   and allegations in the First Amended Complaint regarding prior First Amendment violations and
 2   defamatory statements. There are no pending motions.
 3          Defendants anticipate potentially filing a motion for summary judgment or partial summary
 4   judgment. Plaintiffs anticipate filing a motion for summary judgment.
 5

 6   5.     Amendment of Pleadings
 7          None anticipated.
 8

 9   6.     Evidence Preservation
10          The parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored
11   Information (“ESI Guidelines”), and they have met and conferred pursuant to Fed. R. Civ. P. 26(f)
12   regarding reasonable and proportionate steps taken to preserve evidence relevant to the issues
13   reasonably evident in this action.
14

15   7.     Disclosures
16          Plaintiffs and Defendants are in full and timely compliance with the initial disclosure
17   requirements of Fed. R. Civ. P. 26, having disclosed names, addresses and telephone numbers of
18   witnesses and identified documents.
19

20   8.     Discovery
21          The parties propounded written discovery prior to mediation. The parties anticipate further
22   written discovery and the taking of depositions. The parties do not propose limitations or modifications
23   to the discovery rules. The parties do not believe that a stipulated discovery order is necessary for this
24   matter. Discovery may include subpoenaing records from third parties. The parties further intend to
25   take non-party depositions, if necessary.
26

27   9.     Class Actions
28   This case is not a class action.



                                          JOINT CASE MANAGEMENT STATEMENT

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 1   10.    Related Cases
 2          There are no related cases or proceedings pending before another judge of this Court, or before
 3   another court or administrative body.
 4

 5   11.    Relief
 6          Plaintiffs claim compensatory damages, punitive damages and attorney’s fees and costs.
 7   Plaintiffs contend that the compensatory damages for civil rights and ADA violations, while difficult to
 8   quantify, exceed $250,000. Plaintiffs contend that punitive damages will depend on the wealth of
 9   Defendants, but given the prior intentional civil rights violations against Barich, and the Hon. Vince
10   Chhabria’s warning in that case (Barich v. Cotati, et al., Case No. 3:15-cv-00350-VC) that the City
11   would face severe consequences should there be a repeat, punitives should be at least treble the
12   compensatory damages.
13          To date, Plaintiffs’ assert their attorney’s fees and costs are over $45,000.
14          Plaintiffs’ requests for injunctive relief have been dismissed. Description of Defendants, from
15   whom damages are sought, for the basis on which they contend damages should be calculated if
16   liability is established: there is no actual “calculation” of damages, which are non-economic and
17   nominal.
18

19   12.    Settlement and ADR
20          Plaintiffs and Defendants have timely filed their ADR Certifications with the Court. The parties
21   have discussed ADR, and they have mediated, with no success.
22

23   13.    Consent to Magistrate Judge For All Purposes
24          Whether all parties will consent to have a magistrate judge conduct all further proceedings
25   including trial and entry of judgment.   ___ YES     __X__ NO
26

27

28




                                       JOINT CASE MANAGEMENT STATEMENT

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 1   14.    Other References
 2          The parties do not think the case is suitable for reference to binding arbitration, a special master,
 3   or the Judicial Panel on Multidistrict Litigation.
 4

 5   15.    Narrowing of Issues
 6          Defendants suggest that the Monell claim and issue of punitive damages be bifurcated.
 7

 8   16.    Expedited Trial Procedure
 9          The parties do not think this is the type of case that can be handled under the Expedited Trial
10   Procedure of General Order 64, Attachment A.
11

12   17.    Scheduling
13          Mediation completed: 11/22/2021
14          Trial Date: 12/12/2022
15          Trial Length: Est. 4 court days
16          Final Pretrial Conference: 11/15/2022 at 2:30 p.m.
17          Dispositive Motions: Last day to file 7/28/2022; Last day
18   to be heard 9/1/2022 at 1:30 p.m.
19          Non-expert Discovery Cut-off: 6/9/2022
20          Expert Reports: Opening reports by 6/9/2022; Rebuttal
21   reports by 6/30/2022
22          Expert Discovery Cut-off: 7/21/2022
23

24   18.    Trial
25          Both parties have requested a jury trial and expect 4 to 6 court days in length.
26

27

28




                                         JOINT CASE MANAGEMENT STATEMENT

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 1   19.    Disclosure of Non-party Interested Entities or Persons
 2          Plaintiffs have filed certifications that are required by Civil Local Rule 3-15. Defendants are
 3   exempt. Plaintiffs are not aware of any persons or entities other than the parties themselves that have a
 4   financial interest in the subject matter in controversy or a party to the proceeding, or any other kind of
 5   interest that could be substantially affected by the outcome of the proceeding.
 6

 7   20.    Professional Conduct
 8          All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct
 9   for the Northern District of California.
10

11   21.    Other
12          None.
13

14   Dated: January 4, 2022                            /s/ Carleton L. Briggs
15                                                     Counsel for Plaintiffs
16

17
     Dated: January 4, 2022                            /s/ Peter A. Urhausen
18
                                                       Counsel for Defendants
19

20

21

22                                               CERTIFICATION
23
            I, Carleton L. Briggs, am the ECF User whose identification and password are being used to file
24   this Joint Case Management Statement & [Proposed] Order. I hereby attest that Peter A. Urhausen,
25   Esq. has concurred in this filing.
26

27   Dated: January 4, 2022                            /s/ Carleton L. Briggs
28                                                     Counsel for Plaintiff



                                          JOINT CASE MANAGEMENT STATEMENT

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